Case 3:17-cv-00072-NKM-JCH Document 244 Filed 02/26/18 Page 1 ofS6oppl
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                                                                                ATCHARLOU ESVILE,VA
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                                                                                             '                     a   .
                         IN THE UNITED STATES DISTRICT COURT                      J      .   W'Yk*dGQ*
                        FOR THE W ESTERN DISTRICT OF W RGINIA BY*                                      v
                                                                                                           .
                                                                                                           ', '
                                                                                                           *


                                   CHARLOTTESW LLE DIVISIQN                             .         asws
                                                                                                 . .

                               .           '



  ELIZM ETH SINES,eta1.,                                   ) CaseNo.3:17-cv-00072-NKM -JCH
                                                           )
                         Plaintiffs,                       )
                                                           )
                                                           )
                                                           )
   JA SON K ESSLER .,etal.,                                )
                                                           )
                         D efendants.                      )
                                                           )
                                                           )
                                                           )



      DELCLAM TION OF JOHX DOE IN SUPPORT OF JOHN DOE'SM OTION TO
                                                   QUASH


  1,Jolm Doe,pursuantto28U.S.Codej1746,doherebydeclareasfollows:
          1.                                   .
                                                                         2side oftheW estern
                  lam a residentand citizen oftheUnited Statesresiding out

  DistrictofVirginia. Unlessotherwise stated,Ihavepersonalknowledgeofal1factssetforth in                       .




  thisdeclaration,and Iwould,and could,testify competently thereto ifcalled upon to do so.

                 Iarh notaparty in thetmderlyinglitigation orone oftheircotmsel. Ihavenever

  m etany oftheparties in the underlying litigation,orany oftheir counsel.

                  lhave som einterestin someoftheideaspromulgated by the recentculmraland

  politicalm ovem entknow n as the ''alt-right''. 1agree w ith som e ofthose ideas,and disagree w ith

  others.1have followedthe ''alt-right''on theInternetsinceMbout2015.1identify asam ember

  ofthe ''alt-right''



                                                     1
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                      1m aintain aTwitteraccountunderapseudonymoustwitterhandleand usernam e.

  w hen creatingthataccount,Iprov'ided twitterwith an emailaddreqs, which Iuse.Thatem ail

  addressisassociatedwith (intherecordsoftheproviderofthatfirstaddress)anotheremail
  addressthatincop oratesmy name. Additionally,Ihaveverified my Twitteraccountby

  providing Twitterwith my telephonenum ber,which isassociated with my nnme,addressand

  otherinfonnation in thericordsoflhy telephoneprovider.

             5.       Iusemy Twitteraccountprimarily to engagein politicaldiscujsionswith other

  Tw itterusers online. V irm ally al1ofthe accotm ts1 follow on Tw itter are sources ofright-of-

  çenterpoliticalcontentand com mentary. M ostofthe accounts1follow on Twitterare on thefar-

  rightor''alt-right''.1usem y Twitteraccountto comm enton newsarticles,generally havingto

  do with politics,cultureorscience,which areshared by people'Ifollow on TWitter. 1also use

  m y Twitteraccounttoparticipateinpoliticaldiscussionsand debateswith others. Thatusually

  occtlrsin responseto a comm entsby anotheruserthathasbeen retweeted to my tim elineby
                                                        .         '
         .        .            '
   .

  accountsthatIfollow .Alm ostal1my Twitteruseinvolvescoinm èntary and discussion'on

  politicalorculttlralissues.M y goalin thesedipcussionsisto convincethepeopleIam

  responding to ofthem eritsofmy positions,and toconvincethirdparty observersofthe debate

  ofthem eritsofmy position.1also debatewith people onm y own sideifwehaveapointof

  disagreem ent,orto w ork outw eaknesses in olzrpositions.

             6.       IalsouseTwitterto engage in directm essagingwith accountsthat1follow and

  thatfollow m y account. These directm essagè exchanges are generally discussions about

  PoliticalorcultlzralissuesthatIwouldprefernotbepubliclyposteétoTwitter.
             7.       M y Tw itter accountfollow satleastoneoftheTwi
                                                        .
                                                                   tteriandleslistedasa

  ''PrimaryUser''inparagraph 19ofPlaintiffs'subpoenatoTwitter,Inc.(Doc.226-2at5).1


                                                    2
Case 3:17-cv-00072-NKM-JCH Document 244 Filed 02/26/18 Page 3 of 6 Pageid#: 1548




  responded to atweetfrom thataccount'between June 1,2017 and August17,2017. Therefore,
                                                                  '
  ,
                                                                          '
                .

  my Twitteraccountisa ''Secondary User''underthedefnition in paragraph 20 oftheTwitter

  subpoena(Doc.226-2 at5).
           8.   Iregularly visitseveralright-of-centèrw ebsitesthataredévoted to politicaland

  culturalcomm entary. Ihave visited TheDaily Storm erwebsitementioned in the subpoenasto

  Cloudflare and G odaddy. D ocs.226-3 & 4. Such visitshave been very rare. M ore frequently

  (butstilltmfrequently),IhavevisitedtheAltm ght.com websitementioned intheCloudflareand
  Godaddy subpoenas. IvisitAltltight.com toread politicaland culturalessaysposted there,and
  to listen to apoliticalanalysispodcastcalled ''Alt-m ghtPolitics''. Thatshow issom etim es

  hosted byDefendanlRichard Spencer.

           9.   lnm avery frequentvisitorto theRightStuffwebsite mentioned in theCloudflare

  subpoena.IvisittheRightStuffto listen to podcastson politicalandculturalissues,e.g.,''Fash

  TheNation'',aweeklypoliticalanalysispodcast(hdps://therightstuff.àiz/categpry/fash-the-
  nation/).Ialsoparticipatçinauserforum ontheRightStuffwebsite,whereIengagein
  discussipnswith otheruserson politicaland culturalissuesoftheday
      l.
  (hdps://forum.therichtstuff.biz).1probablyvisittheItightStuffwebsiteeveryday.1nm certain
  that1wouldhavevisited itsometim ebetweçn August1,2017 and August19,2017.

  Accordingly,trafficlogsfortheRightSfuffwebsiteforthatdate rangewillreflectmy visits.
  Thosetraffclogsare soughtin theCloudflaie subpoena.

           10. IregisteredforaHatreon accoupt,inthehopesofanonfmouslyfundingthe
  intefnetcontentcreators(primarilypodcastproducers),whoseshowsIlistento,andalsopolitical'
  and culturalessayistsand politicalactivists.ThatHatreon accountisassociated an em ail

  address,whichitselfisassociatedwith(intherecordsoftheproviderofthatfirstaddress)
Case 3:17-cv-00072-NKM-JCH Document 244 Filed 02/26/18 Page 4 of 6 Pageid#: 1549




     another em ailaddressthatincorporates m y nam e. Ido notbelievethatlhaveeveractually
            a              '
 .
     provided m oney to anyone through Hatreon,how ever.

                     1fearsignilcant,negativepersonaland professionalconsequencesin theevent

     thatm y nam e becom espublicly associated w ith m y online reading and listening habits,

     associations,ormy jwitterpqstsand directm essages. Iam awareoftheconsequencesthatother

     membersofihe''alt-right''havesuffered asaresultoftheirbeing''doxed'',orpubliclyrevealed.
     Iam aware.ofstokiesaboutpeopleinthe''alt-right''whohavelosttheirjobsasaresultofbeing
                                            '
                               .

     publiclyidentiûed,likeGregContç (hdp://-            .foxnews.coe us/zol8/ol/o6/maaland-
                                                                                          '
                                        .

     substitute-teacher-sred-aûer-alt-richt-views-discovered-bv-students.html)orwhohavebeen

     publiclydisownedbytheirfamily,likePeterTefft(hlps://-           .dailydot.coe layer8/pete-tefA-
     fatier-leûer-to-the-editoro.tknow thatalt-rightstudentswhohavebeendoxedfacecampaigns
     ofharassm entand intim idation qn theircampuses. One examplewouldbeDan Kleve,whose

     schoolisbeingpresstlredtoexpelhim (hûp://-           .newsweek.coW universil-nebraska-wont-
     expel-student-Who-boasted-beina-most-active-white-8oz7zo).
            12.      In theeventthatmy namebecom espublicly associated with m y online.
                                                                                      reading

     and listening habits,m y associations,orm y twitterpostsand directmessages,Ibelievethat1

     willbefiredflom myjobandostracizedfrom mysocialcommunity.Infact,1doubtthat1
     would beableto work ajain in m y field. Ialso believethatmy fam ily and maritalrelations
                 '
             .                                       .



 .   would bestrained.

                     Ialso fearphysicalharm in the eventthatm y nam e becom espublicly associated

     w ith m y online reading and listening habits,m y associations,orm y tw itterposts and direct
 .
     messajes..'
               rhecommunityinwhichIlivehasanactivegroupof''ànti-facist''qctivists,likethe
     oneswho rioted in W ashington D.C.on Inaugpration Day and fnm ously attacked Defendant


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Case 3:17-cv-00072-NKM-JCH Document 244 Filed 02/26/18 Page 5 of 6 Pageid#: 1550




  Richard Spepcer(ho s://-         .cM .com/zol7/ol/zo/politics/white-nationalist-Hchard-spencer-
  puhched/index.html).lam woniedthatifInm doxed,''anti-fà''in mycommunitycould
  physicallyhannme,ormyfnmily,inmyhomeorinpublic,justastheyhavedonetoltichard
      Spencerand others.

             14.    Theprospectandfearofbeing doxed m akesm efeellesswillingto engagein
  '
  spiriied politicaldebateonline. Ialready findm yselfvisiting certain politicalwebsitesless
                      .




  frequently,and isolating myselffrom the onlinepoliticaldiscus'
                                                               sion groupsand com munitiesin

  which 1usedto be an activemem ber.Ifind myselfbeing lesscandidin my onlinepolitical

      discussions,notonly w ith people on the otherside ofthe politicaldivide,buteven w ith people

  on m y own side. Iam notwillingtoprovidemoneytopeoplewhosepoliticalcontentIenjoy,or
                           .




  w hose activism Isupport,forfearofbeing doxed.

                    Ihadnopartin theplnnning orexecution oftheAugust12,2017UniteTheRight
                                                                              '      .
                                                .

  rglly in Charlottesville,VA,orany oftheotherdem onstrationsdescribed in theComplaintorthe

  Amended Complaint.'Ihave neverbeen to Charlottesville,VA .Ihavenotbeen tothe
  Com monwea1th ofVirginiain two years.

             ldeclareunderpenaltyofperjurythattheforgoingistiueatldcorrect

             DATED :February 23,2018                    Jolm Doe

                                                        /s/lolu&Doe

                                                        subpoenadoel@ protonmail.com




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Case 3:17-cv-00072-NKM-JCH Document 244 Filed 02/26/18 Page 6 of 6 Pageid#: 1551




                                   CERTIFICATE OF SERVICE

             Ihereby certify thaton this24th day ofFebruary,2018,acopy oftheforegoing was
     subm itted to theClerk'soffice ofthe CharlottesvilleDivision oftheU.S.DistrictCourtforthe
     W estel.
            nDistrictofVi/giniaat255W .M qinjtreet,RoUm 304,Charlottesville,VA 22902by
   U.S.Post>lServiceExpressM ail.A copy ofthissubmission wassentby em ailto theemail
 : addressesofthepartiesand counsellisted below.
            .
                                       '




                                                      /s/John Doe
                                                      ProSe



 '   pbom nan@ bsfllp.com (attorneyforPlaintiffs)
     CCahill@ coolev.com (attorneyforPlaintiffs)
     vbarkai@ bstllp.com (attorney forPlaintiffs)
     dcampbell@dhdglaw.com (attorneyforDefendantFields)
     kdunn@ bsfllp.com (attorneyforPlaintiffs)
     ifirlk@kap'lanandcompany.com (attèrneyforPlaintiffs)
     icravatt@dhdclaw.com (attorneyforDefèndantFields)
     cgreene@kaplanandcompmw.com (attorneyforPlaintiffs)
     wisaacson@ bsfllp.com (attorneyforPlaintiffs)
 ,   bryan@ bioneslegal.com (attorneyforDefendaritLeagueoftheSouth)
     rkaplan@kaplanandcompany.com (attorney forPlaintiffs)
     alevine@cooley.com (attorneyforPlaintiffs)
     iliblinc@bstllp.com (attornryforPlaintiffs)
     dmills@ cooley.com (attorneyforPlaintiffs)
     sstrohmeier@kaplanandcompanv.com (at-torneyforPlaintiifs)
     isuecrooks@ co'mcast.net(attorneyforDefendantParrottl




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